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AO 245B   (Rev. 10/17) Judgment in a Criminal Case
          Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                        Northern District of Oklahoma
                                                                    )
           UNITED STATES OF AMERICA                                 )   AMENDED JUDGMENT IN A CRIMINAL CASE
                                 v.                                 )
                                                                    )
              JOHNNY EDWARD MIZE, II                                )   Case Number:                       4:21-CR-00107–001-GKF
                                                                    )   USM Number:                        40066-509
                                                                    )
                                                                    )   James J. McHugh, Victor J. Abreu, and Anna K. Christensen
                                                                        Defendant’s Attorney


Date of Original Judgment: April 7, 2022, Dkt. # 48
(Or Date of Last Amended Judgment)
Reason for Amendment: Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
THE DEFENDANT:
☒ pleaded guilty to count One of the Information
☐ pleaded nolo contendere to count(s)
   which was accepted by the Court.
☐ was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                      Nature of Offense                                      Offense Ended            Count
18 U.S.C. §§ 1151, 1152, and 1112                    Voluntary Manslaughter in Indian Country                   7/4/17                 1

       The defendant is sentenced as provided in this Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☒ The Indictment and Superseding Indictment are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid. If ordered to
pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic circumstances.

                                                                          August 12, 2022
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge


                                                                          Gregory K. Frizzell, United States District Judge
                                                                          Name and Title of Judge


                                                                          August 12, 2022
                                                                          Date
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AO 245B   (Rev. 10/17) Judgment in Criminal Case
          Sheet 2 — Imprisonment


 DEFENDANT:                     Johnny Edward Mize, II
 CASE NUMBER:                   4:21-CR-00107-001-GKF


                                                             IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
      total term of: Seventy-eight months, with credit for time served in the Tulsa County District Court case CF-2017-3891 for
                     Manslaughter First Degree-Heat of Passion. Said term shall run concurrently with any sentence imposed in the state of
                     Oklahoma for the same conduct.




      ☒     The Court makes the following recommendations to the Bureau of Prisons:
            The Court recommends that the defendant be placed in a facility as close to Tulsa, Oklahoma, as possible.




      ☒     The defendant is remanded to the custody of the United States Marshal.


      ☐     The defendant shall surrender to the United States Marshal for this district:

          ☐      at                                ☐   a.m.    ☐     p.m. on                                                .

          ☐      as notified by the United States Marshal.


      ☐     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐      before 2 p.m. on                                        .

          ☐      as notified by the United States Marshal.

          ☐      as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
 I have executed this Judgment as follows:




          Defendant delivered on                                                         to

 at                                                 , with a certified copy of this Judgment.


                                                                                                   UNITED STATES MARSHAL


                                                                             By

                                                                                                DEPUTY UNITED STATES MARSHAL
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AO 245B    (Rev. 10/17) Judgment in a Criminal Case
           Sheet 3 — Supervised Release

 DEFENDANT:                     Johnny Edward Mize, II
 CASE NUMBER:                   4:21-CR-00107-001-GKF

                                                      SUPERVISED RELEASE
 Upon release from imprisonment, you will be on supervised release for a term of:        Three years.




                                                      MANDATORY CONDITIONS

   1.     You must not commit another federal, state or local crime.
   2.     You must not unlawfully possess a controlled substance.
   3.     You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
          imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                 ☐ The above drug testing condition is suspended, based on the court's determination that you
                       pose a low risk of future substance abuse. (check if applicable)
   4.      ☐ You must make restitution in accordance with 18 U.S.C §§ 3663 and 3663A or any other statute authorizing a sentence of
                restitution. (check if applicable)
   5.      ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
   6.      ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
                directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
                reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
   7.      ☐ You must participate in an approved program for domestic violence. (check if applicable)


   You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
   page.
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AO 245B   (Rev. 10/17) Judgment in a Criminal Case
          Sheet 3A — Supervised Release

 DEFENDANT:                    Johnny Edward Mize, II
 CASE NUMBER:                  4:21-CR-00107-001-GKF

                                            STANDARD CONDITIONS OF SUPERVISION
   As part of your supervision, you must comply with the following standard conditions of supervision. These conditions are imposed
   because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
   officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of release
          from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
          frame.
 2.       After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
          when to report to the probation officer, and you must report to the probation officer as instructed.
 3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
          the court or the probation officer.
 4.       You must answer truthfully the questions asked by the probation officer.
 5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
          arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
          the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
          officer within 72 hours of becoming aware of a change or expected change.
 6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
          to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
          doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
          you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
          responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer in
          advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
          aware of a change or expected change.
 8.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
          convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
          probation officer.
 9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
          was designed, or was modified for, the specific purpose of causing bodily injury or death to another person, such as nunchakus or
          tasers).
 11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
          first getting the permission of the court.
 12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may,
          after obtaining Court approval, notify the person about the risk or require you to notify the person about the risk and you must
          comply with that instruction. The probation officer may contact the person and confirm that you have notified the person about the
          risk.
 13.      You must follow the instructions of the probation officer related to the conditions of supervision.
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            Sheet 3B — Supervised Release


DEFENDANT:                  Johnny Edward Mize, II
CASE NUMBER:                4:21-CR-00107-001-GKF

                                           SPECIAL CONDITIONS OF SUPERVISION


    1.    The defendant shall submit his person, residence, office or vehicle to a search, conducted by the United States Probation Officer at
          a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a
          condition of release; failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents that
          the premises may be subject to searches pursuant to this condition.

    2.    The defendant shall successfully participate in a program of mental health treatment and follow the rules and regulations of the
          program. The probation officer, in consultation with the treatment provider, will determine the treatment modality, location, and
          treatment schedule. The defendant shall waive any right of confidentiality in any records for mental health treatment to allow the
          probation officer to review the course of treatment and progress with the treatment provider. The defendant must pay the cost of
          the program or assist (co-payment) in payment of the costs of the program if financially able.

U.S. Probation Officer Use Only
A U.S Probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
Judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant’s Signature _____________________________________                       Date _________________
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AO 245B    (Rev. 10/17) Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties


 DEFENDANT:                           Johnny Edward Mize, II
 CASE NUMBER:                         4:21-CR-00107-001-GKF

                                                  CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments.

                      Assessment             Restitution             Fine                         AVAA Assessment*           JVTA Assessment**
 TOTALS              $100                    Not Ascertainable       N/A                          N/A                        N/A


 ☐        The determination of restitution is deferred until
          An Amended Judgment in a Criminal Case (AO 245C) will be entered after such determination.

 ☐        The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
     paid before the United States is paid.

 Name of Payee                                              Total Loss***                        Restitution Ordered           Priority or Percentage




 TOTALS                                                $                                     $

 ☐        Restitution amount ordered pursuant to Plea Agreement $

 ☐        The defendant must pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the Judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ☐        The Court determined that the defendant does not have the ability to pay interest and it is ordered that:

          ☐      the interest requirement is waived for the      ☐          fine      ☐      restitution.

          ☐      the interest requirement for the      ☐      fine    ☐            restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September
 13, 1994, but before April 23, 1996.
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AO 245B    (Rev. 10/17) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments


 DEFENDANT:                    Johnny Edward Mize, II
 CASE NUMBER:                  4:21-CR-00107-001-GKF

                                                             SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ☒ Lump sum payment of $ 100                                 due immediately, balance due

             ☐       not later than                                    , or
             ☐       in accordance with        ☐ C,       ☐       D,      ☐     E, or         ☐ F below; or
 B    ☐ Payment to begin immediately (may be combined with                      ☐ C,               ☐ D, or           ☐ F below); or

 C    ☐ Payment in equal                               (e.g., weekly, monthly, quarterly) installments of $                               over a period of
                             (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this Judgment; or

 D    ☐ Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                              over a period of
                             (e.g., months or years), to commence                    (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

 E    ☐       Payment during the term of supervised release will commence within                   (e.g., 30 or 90 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
  F   ☐       Special instructions regarding the payment of criminal monetary penalties:
              Any monetary payment is due in full immediately, but payable on a schedule to be determined pursuant to the policy provision
              of the Federal Bureau of Prisons’ Inmate Financial Responsibility Program if the defendant voluntarily participates in this
              program. If a monetary balance remains, payment is to commence no later than 60 days following release from imprisonment to
              a term of supervised release in equal monthly payments of $50 or 10% of net income (take home pay), whichever is greater, over
              the duration of the term of supervised release and thereafter as prescribed by law for as long as some debt remains.
              Notwithstanding establishment of a payment schedule, nothing shall prohibit the United States from executing or levying upon
              property of the defendant discovered before or after the date of this Judgment.

 Unless the Court has expressly ordered otherwise, if this Judgment imposes imprisonment, payment of criminal monetary penalties
 is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the Clerk of the Court.
 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☐        Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
          and corresponding payee, if appropriate.
 ☐        The defendant shall pay the cost of prosecution.

 ☐        The defendant shall pay the following court cost(s):

 ☐        The defendant shall forfeit the defendant’s interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
